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                                     UNITED STATES DISTRICT COURT
14
                                  NORTHERN DISTRICT OF CALIFORNIA
15
                                          SAN FRANCISCO DIVISION
16
                                                            Master File No. 3:23-cv-03223-AMO
17   IN RE OPENAI CHATGPT LITIGATION

18   This document relates to:                              PLAINTIFFS’ REQUEST FOR LEAVE
                                                            TO FILE A SUR-REPLY OR,
19   All Actions                                            ALTERNATIVELY, OBJECTION TO
                                                            THE REPLY BRIEF AND REPLY
20                                                          DECLARATION IN SUPPORT OF BEN
                                                            MANN’S MOTION TO QUASH
21
                                                            Judge: Robert M. Illman
22                                                          Hearing: February 11, 2025

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      Master File No. 3:23-cv-03223-AMO
      PLAINTIFFS’ REQUEST FOR LEAVE TO FILE A SUR-REPLY OR, ALTERNATIVELY, OBJECTIONS TO REPLY
              BRIEF AND REPLY DECLARATION IN SUPPORT OF BEN MANN’S MOTION TO QUASH
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 1          Ben Mann’s reply brief (ECF No. 273) and declaration (ECF No. 273-1) (“Reply Declaration”)

 2   are chock full of new and previously undisclosed factual assertions. Those new assertions also contradict

 3   sworn statements by OpenAI: whereas OpenAI averred in its interrogatory responses that

 4

 5                       which OpenAI then also used to power GPT 3.5, Mann denies that he even worked

 6   on GPT 3.5. Likewise, whereas OpenAI represented that Mann has unique knowledge, Mann says that

 7   he passed along everything he knew in a “transition memo,” which Mann says he doesn’t have now and

 8   OpenAI has not produced. Mann highlights these disagreements to avoid discovery. But that gets the law

 9   exactly backwards—it goes without saying that factual disputes must be explored in discovery and

10   through cross-examination. Cross-examination, after all, is “the greatest legal engine ever invented for

11   the discovery of truth.” California v. Green, 399 U.S. 149, 158 (1970) (quotation omitted). Mann’s

12   factual disagreements regarding issues central to this case, including the massive IP piracy committed by

13   OpenAI and its use of those pirated works in its Generative AI models and products, are, in other words,

14   a reason for more discovery, not less. Accordingly, the Court should order Mann to comply with

15   Plaintiffs’ deposition subpoena and sit for deposition as required by the Federal Rules.

16          If, however, the Court is not inclined to grant Plaintiffs leave to submit a sur-reply, it should

17   strike Mann’s new factual assertions pursuant to Civil Local Rule 7-3(d)(1) and Federal Rule of Civil

18   Procedure 12(f).

19     I.   MANN’S REPLY DECLARATION FURTHER EVIDENCES WHY HE MUST BE
            DEPOSED.
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            Many of Mann’s key averments are at odds with sworn statements by OpenAI and other facts in
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     the record. The inconsistencies confirm either or both of the following: (1) the Court should not rely on
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     the Reply Declaration because it is riddled with half-truths and mischaracterizations of facts and
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     evidence, and/or (2) OpenAI’s interrogatory responses are riddled with material misrepresentations. In
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     any event, the Court should permit more discovery, not less. A thorough cross-examination of Ben Mann
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 1   11-month gap between Mann’s start date and Jain’s start date, and the documents reveal that Mann was

 2   actively involved in                              before Jain’s start date. It also appears that Hallacy had

 3   little or no involvement in the                                 . Hallacy’s name does not appear on any of

 4   the relevant documents Plaintiffs cite in their opposition, which indicate that it was Mann—along with

 5   Amodei—who                                                                          . See Exhs. A-E.

 6           Mann’s and OpenAI’s narratives are starkly different. The question is what to do about it. Mann

 7   says the answer is nothing. On his view, because he disagrees with OpenAI, the discovery process should

 8   end. But the law is the opposite. In our system, sworn examination is the way we ensure “the integrity of

 9   the fact-finding process.” Kentucky v. Stincer, 482 U.S. 730, 736 (1987). And “open discovery” is how

10   we ensure that trial remains a “search for the truth.” Stormans Inc. v. Selecky, 2015 WL 224914, at *3

11   (W.D. Wash. Jan. 15, 2015). Mann’s disagreements with OpenAI, in other words, are a reason for more

12   discovery, not less. The only way for Plaintiffs to determine whether Mann or OpenAI is telling the truth

13   is by having the Court order that Mann sit for a full deposition. See Hickman v. Taylor, 329 U.S. 495, 501

14   (1947) (goal of discovery is for “parties to obtain the fullest possible knowledge of the issues and facts

15   before trial”).

16           In the alternative, the Court should strike or disregard the Reply Declaration as improper and

17   unreliable. The Court may strike and wholly disregard the Reply Declaration because of its fundamental

18   misstatements, at odds with other sworn statements and other facts in the records. See Blough v. Shea

19   Homes, Inc., No. 2:12-CV-01493 RSM, 2014 WL 3694231, at *5 (W.D. Wash. July 23, 2014) (granting

20   motion to strike and disregarding inaccurate statements made on reply). In the alternative, it should at a

21   minimum strike the most obviously false statements. See Reply Decl., ¶¶ 5, 8; Reply (ECF No. 273),

22   3:14-23.

23    II.    MANN’S REPLY BRIEF AND REPLY DECLARATION ARE IMPROPER BECAUSE
             THEY CONTAIN NEW EVIDENCE AND ARGUMENT NOT PREVIOUSLY RAISED
24           IN MANN’S MOVING PAPERS.
25           Mann’s Reply and the Reply Declaration should also be stricken or ignored because they violate

26   the Court’s Local Rules. See L-R 7.3(d)(1) (“If new evidence has been submitted in the reply, the

27   opposing party may file and serve an Objection to Reply Evidence.”). Courts in this District routinely

28   strike reply declarations containing new facts and argument. See, e.g., Citcon USA, LLC v. RiverPay Inc.,

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 1   No. 18-CV-02585-NC, 2019 WL 2603219, at *3 (N.D. Cal. June 25, 2019) (“[T]he Court cannot

 2   consider his declaration because it is impermissible new evidence submitted on a reply brief in violation

 3   of Civil Local Rule 7-3(d)(1).”); Willis v. Koning & Assocs., No. 21-CV-00819-BLF, 2023 WL 2541327, at

 4   *2 (N.D. Cal. Mar. 15, 2023) (similar); Contratto v. Ethicon, Inc., 227 F.R.D. 304, 308 n.5 (N.D. Cal.

 5   2005) (similar). Indeed, it is well established that new arguments and evidence presented for the first

 6   time in a reply are waived. United States v. Patterson, 230 F.3d 1168, 1172 (9th Cir. 2000); see Zamani v.

 7   Carnes, 491 F.3d 990, 997 (9th Cir. 2007) (“The district court need not consider arguments raised for

 8   the first time in a reply brief.”). But in the event this Court considers Mann’s improper new evidence, it

 9   should give Plaintiffs the opportunity to respond. See Provenz v. Miller, 102 F.3d 1478, 1483 (9th Cir.

10   1996).

11            In addition to the averments and arguments described above, Mann also asserts in his Reply

12   Declaration that OpenAI’s “source code and libraries” are “the ultimate source of truth regarding what

13   training data was used for each of OpenAI’s models.” Reply Decl., ¶ 7. Again, this is an entirely new

14   argument. Even assuming OpenAI’s “source code and libraries” identify “what training data was used

15   for each of OpenAI’s models”—which is certainly not something that OpenAI has represented or

16   identified7—that data itself does not address many of the disputed issues in this case, including OpenAI’s

17   state of mind, its motive, and whether its conduct was willful. See Harper & Row Publishers, Inc. v. Nation

18   Enterprises, 471 U.S. 539, 562 (1985) (“Also relevant to the ‘character’ of the use is the propriety of the

19   defendant’s conduct. Fair use presupposes ‘good faith’ and ‘fair dealing.’”) (cleaned up).

20   III.     CONCLUSION

21            For the reasons set forth herein, this Court should grant Plaintiffs’ leave to file a sur-reply to

22   address Mann’s new facts and arguments and deem this brief Plaintiffs’ sur-reply. Alternatively, the

23   Court should strike as improper and/or unreliable the new facts and arguments in Mann’s Reply and

24   Reply Declaration.

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27   7
      It is unclear what Mann refers to by OpenAI’s “libraries.” In any event, Plaintiffs should be entitled to
     depose Mann on which scripts among the vast quantities of OpenAI’s source code, and which
28
     “libraries,” he believes are the “source of truth.”
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